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iN THE UNITED STATES DISTRICT CoURT -'
FoR THE WESTERN DISTRICT oF TENNESSEE 05 hug -h gm 3= 39
WESTERN DIVISION
UNITED STATES oF AMERICA, CU;P,K, U{:§ if
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Plainu‘ff,
V. No. 05-20249 B
JUAN DELABRA,
Defendzmt.

 

ORDER OF REFERENCE

 

Before the Court are the following motions flled August 3, 2005 by the Defendant, Juan
Delabra: ( l) Motion to Withdraw as Attorney of Record and Requcst for Appointrnent of Counsel
and (2) Defendant‘S Application for Court Appointed Counsel. The motions are hereby referred to
the United Statcs Magistratc Judge for a Determination. Any exceptions to the Magistrate Judge's
order shall be made by motion Within ten (10) days after service of the order. Further, all exceptions
Shall be stated With particularity.

IT IS SO ORDERED this __ day of August, 2005.

-:Z

.DA IEL BREEN \.
D sTATEs DIsTRICT JUDGE

 

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Notice of Distribution

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Honorable J. Breen
US DISTRICT COURT

